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                                                Debtor                                                                                    (jfknown)


                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

                 A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
             unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
             including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
             debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

                  The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
              debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
              "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 1 1 U.S.C. §1 12 and Fed. R. Bankr. P. l007(m).

                  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
             entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
             both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wile,
             Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the
             column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
              than one of these three columns.)

                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
              E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                   Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
              entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
              primarily consumer debts report this total also on the Statistical Summaiy of Certain Liabilities and Related Data.

                  Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
              amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors
              with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

              a Check this box if debtor has no creditors holding unsecured priority claims to report on this ScheduleE.

              TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
            'X)omestic Support Obligations


                  Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
              responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
              11 U.S.C. § 507(a)(l).

              a Extensions of credit in an involuntary case

                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
              appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

              a Wages, salaries, and commissions

                Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
              independent sales representatives up to $1 1,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
              cessation of business, whichever occurred first, to the extent provided in ll U.S.C. § 507(a)(4).
              O Contributions to employee benefit plans                                                                                    Ey            ~
                Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the ~~
                                                                                                                                   origiaftition, ahe

              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).                m: "         =
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                * Amount subject to adnistment on 4/01//3, and every three years therea/kr with respect to cases commenced on or a/ier tfS'ofaastm%


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                                     Debtor                                                                                               (if known)

           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     (Continuation Sheet)

                                                                                                                             Type of Priority for Claims Listed on This Sheet



                CREDITOR'S NAME,                               q          DATE CLAIM WAS              f-       &                     AMOUNT                       AMOUNT          AMOUNT
                 MAILING ADDRESS                               w
                                                               "=Z >       INCURRED AND               Z
                                                                                                      ,a       f"       q              OF                         ENTITLED          NOT

               INCLUDING ZIP CODE,                             2 ? Z      CONSIDERATION               ¢3       <        m             CLAIM                          TO           ENTITLED

             AND ACCOUNT NUMBER                         %      qG£            FOR CLAIM               E        E        t                                         PRIORITY              TO
                (See instructions abow.)                !      e28                                    2        2        g                                                     PR'OAR::Y3 IF

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          Account No.        a8l t7

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          Account No.



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         pkx           A2- 4¢o 3q-

          Account No.




          Account No.




          Sheet no.     of     continuation sheets attached to Schedule                                    Subtotals>            $                            $
          of Creditors Holding Priority Claims                                                    (Totals of this page)              R (J P), 00


                                                                                                                    Total>       $
                                                                                                                                                                                             · U'   ,

                                                                          (Use only on last page of the completed

                                                                          Schedule E. Report also on the Summary                 n 0 r)A/ d                               .
                                                                          of Schedules.)


                                                                                                                Totals>                     '.         '""·   $               $
                                                                                                                                                 >'·

                                                                          (Use only on last page of the completed
                                                                          Schedule E. If applicable, report also on
                                                                          the Statistical Summary of Certain
                                                                          Liabilities and Related Data.)




                Case 2:13-bk-16593-PS                               Doc 36 Filed 11/13/13 Entered 11/14/13 07:29:38                                                           Desc
                                                                     Main Document     Page 2 of 2
